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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                         No: 18-2674

                           Granite Re, Inc., an Oklahoma Corporation

                                                    Appellant

                                               v.

  National Credit Union Administration Board, as Conservator of Citizens Community Credit
                         Union, Citizens Community Credit Union

                                                    Appellee

______________________________________________________________________________

         Appeal from U.S. District Court for the District of North Dakota - Bismarck
                                   (1:17-cv-00213-DLH)
______________________________________________________________________________

                                         MANDATE

       In accordance with the opinion and judgment of 04/24/2020, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                     June 16, 2020




Clerk, U.S. Court of Appeals, Eighth Circuit




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